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      LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11    WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
12    corporation,                                 DECLARATION OF AARON S. CRAIG
                                                   IN SUPPORT OF DEFENDANTS NSO
13                Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                   AND Q CYBER TECHNOLOGIES
14          v.                                     LIMITED’S ADMINISTRATIVE
                                                   MOTION TO FILE UNDER SEAL
15    NSO GROUP TECHNOLOGIES LIMITED
      and Q CYBER TECHNOLOGIES LIMITED,            FILED UNDER SEAL
16
                  Defendants.                      [REDACTED VERSION OF DOCUMENT
17                                                 SOUGHT TO BE SEALED]
18
                                                   Judge: Hon. Phyllis J. Hamilton
19
                                                   Action Filed: 10/29/2019
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        CRAIG DECL.                                                     Case No. 4:19-cv-07123-PJH
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 1             I, Aaron S. Craig, declare as follows:

 2             1.     I am a member of the California State Bar and the bar of this court, a partner in the

 3    law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies

 4    Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is

 5    made in support of Defendants’ Administrative Motion to File Under Seal. I have personal

 6    knowledge of the facts set forth herein and, except as otherwise stated, could testify competently

 7    to each fact averred herein.

 8             2.     The Complaint was filed October 29, 2019. (Dkt. No. 1.) Defendants were served

 9    on March 12, 2020, and on April 2, 2020, Defendants moved to dismiss the complaint. (Dkt. No.

10    45.) Plaintiffs served a First Set of RFPs on June 4, 2020. This Court stayed discovery shortly

11    after Plaintiffs served their First Set of RFPs. After the stay ended, the Court held a status

12    conference at which it instructed the parties to meet and confer over the                         on

13    Plaintiffs’ RFPs.    The parties met and conferred but could not reach a resolution, forcing

14    Defendants to file a motion for protective order on March 30, 2023. On November 15, 2023, the

15    Court denied NSO’s motion for protective order. (Dkt. No. 233.) The parties then engaged in

16    substantive discovery, which involved the exchange of numerous highly confidential documents.

17    In September and October of 2024, the parties filed their respective dispositive motions (Dkt. Nos.

18    396, 399, 413, 418, 419, 433, 436, 446) and Plaintiffs filed a motion for sanctions (Dkt. Nos. 405,

19    417, 429, 443, 454). Plaintiffs have since moved for a permanent injunction (Dkt. No. 558), which

20    Defendants now oppose.

21             3.     Defendants seek to file under seal documents (the “Sealed Documents”1) submitted

22    in connection with Defendants’ Opposition to Plaintiffs’ Motion for Permanent Injunction.

23    Sealing of certain of the Sealed Documents is necessary to

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28    1
          The Sealed Documents are enumerated in paragraph 12, below.
          CRAIG DECL.                                     1                      Case No. 4:19-cv-07123-PJH
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 6                                                                            (Gelfand Decl. (Dkt. 133-6)

 7 Exh. B at 1-2.)

 8          5.       On July 19, 2020,

 9                                                                       (Gelfand Decl. (Dkt. 133-6), Exh.

10    D.)                       determined the                      was

11                                       to          (Id. at 1.)                                   prohibits

12                                                                                            that is not an

13                                            with regard to any                                       that are

14

15                                                                              (Id.)            authorized

16 the                  to

17

18

19                                                                                 (Id. at 1-2.) The order

20 also authorized                                                  of

21                                            and

22                                                                                       (Id. at 3.)

23                   On July 19, 2020,                                          delivered a

24                                            in       (Gelfand Decl. (Dkt. 133-6) Exh. F.)

25 notified Defendants about the                      and explained that

26

27                                                         (Id. ¶ 3.)

28                       that they are
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 1                                                                         by

 2                                 including a prohibition on

 3

 4                    (Id. ¶ 2.)

 5           7.        On February 8, 2023,

 6

 7                                                                              (Gelfand Decl. (Dkt. 133-6)

 8 Exh. D.) The purpose for this update, according to

 9

10

11           8.        On May 21, 2023,

12

13

14                            As soon as NSO

15                it filed and served them on June 13, 2023 (Dkt. 195-3 and 195-4.)

16 is described in paragraph 10 below.

17                                    (Dkt. 195-4, Order ¶ 3)

18

19                                                                                       (Dkt. 195-4, Order

20    ¶ 4), and                     may not be           to any                 except

21 pursuant to a                      that will

22                           (Dkt. 195-4, Order ¶ 5), provided that they are

23                                       (Dkt. 195-4,              ¶ 3).

24                                                                 (Dkt. 195-4,                   ¶ 6).

25

26           9.        The information that Defendants seek to keep under seal regarding the

27                                                                   At the time Defendants first received

28
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 1                                                                           (Gelfand Decl. (Dkt. 133-6)

 2 Exh. F ¶¶ 4-6.) Through their counsel in                 Defendants

 3                                                                       Defendants

 4                                                                                                 to allow

 5    disclosure of                     to this Court and to Plaintiffs’ counsel. In seeking the

 6    Defendants

 7

 8                                     authorizing Defendants to

 9

10

11           10.      The                   (Dkt. 195-3)

12

13                 (Dkt. 195-3, ¶ 2.) The

14

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16                                                                               (Dkt. 195-3, ¶ 2(1)-(6).)

17    However, the

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21 (Dkt. 195-3 ¶ 4 (a)-(b)). As relevant here,

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26           11.      In late                                                              documents and

27 testimony

28 The licenses
        CRAIG DECL.                                     5                        Case No. 4:19-cv-07123-PJH
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 1    constitutional right of access. See, e.g., N.Y. Times Co. v. U.S. Dep't of Justice, 806 F.3d 682, 688

 2    (2d Cir. 2015) (“As a general rule, there is no constitutional right of access to traditionally

 3    nonpublic government information.”) The fact that the documents were issued by

 4                                               and contain

 5                                              “alone counsels in favor of finding that there is no

 6    presumptive public right of access” to these documents. Omari v. Ras Al Khaimah Free Trade

 7    Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017) (sealing a white paper

 8    commissioned by a ruler of a political subdivision of foreign nation because it contained “highly

 9    sensitive, traditionally nonpublic government information, in this case of a foreign government”);

10    see also In re Terrorist Attacks on Sept. 11, 2001, 2019 WL 3296959, at *5 (S.D.N.Y. July 22,

11    2019) (sealing multiple documents and finding that the documents contained “traditionally

12    nonpublic information” because the documents involved senior foreign officials, were designated

13    as sensitive at the time of creation, and detailed information about the nation’s response to certain

14    investigations).

15           b.      Second,

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21                                                    Societe Nationale Industrielle Aerospatiale v. U.S.

22    Dist. Ct., 482 U.S. 522, 543 n. 27 (1987).

23                                                                     United States v. Sater, 2019 WL

24    3288289, at *4 (E.D.N.Y. July 22, 2019). This is particularly true where, as in this case, the

25    documents sought to be sealed

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 4                                    Because

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 6           c.      Third, because

 7                 public disclosure of the Sealed Documents could

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12           14.     Accordingly, good cause and compelling reasons exist to seal the Sealed

13    Documents, and Defendants respectfully request that the Court grant the accompanying

14    Administrative Motion to File Under Seal and order the Sealed Documents be kept under seal.

15           15.     The Declarant has carefully sought sealing of only those parts of this Declaration

16    and the exhibits thereto as are necessary to comply with other legal obligations binding on

17    Defendants, as described above, and, on behalf of Defendants, respectfully submits that the

18    compelling reasons standards are met with respect to the Sealed Documents.

19           I declare under penalty of perjury and the laws of the United States that the foregoing is

20    true and correct this 14th day of March 2025, at Pasadena, California.

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22                                         /s/ Aaron S. Craig
                                             AARON S. CRAIG
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        CRAIG DECL.                                   8                         Case No. 4:19-cv-07123-PJH
